      Case 1:13-cv-00222-MW-GRJ Document 223 Filed 03/31/17 Page 1 of 9



                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

RICHARD ALEXANDER WILLIAMS,

                    Plaintiff,
v.                                             Case No. 1:13-cv-00222-MW-GRJ

FIRST ADVANTAGE LNS SCREENING
SOLUTIONS, INC. f/k/a LEXISNEXIS
SCREENING SOLUTIONS, INC.,

                    Defendant.
                                                        /

      DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS
     UNOPPOSED MOTION TO STAY ENFORCEMENT OF JUDGMENT
           AND NOTICE OF FILING SUPERSEDEAS BOND

       Defendant FIRST ADVANTAGE BACKGROUND SERVICES CORP.

respectfully seeks a stay of the enforcement of the judgment in this action with the

posting of adequate security in the form of a supersedeas bond as First Advantage

appeals this matter to the United States Court of Appeals for the Eleventh Circuit.

See Fed. R. Civ. P. 62(d).

       After the trial in this action, the jury found in favor of Williams on Claim

One (violation of 15 U.S.C. § 1681e(b)) and awarded Williams money damages.

Judgment was entered for $3,550,000.00 ($250,000.00 in compensatory damages

and $3,300,000.00 in punitive damages) on November 2, 2016. The Court

subsequently denied First Advantage’s Rule 50(b) and Rule 59 motions (ECF No.
     Case 1:13-cv-00222-MW-GRJ Document 223 Filed 03/31/17 Page 2 of 9



217). First Advantage filed its Notice of Appeal to the Eleventh Circuit on March

31, 2017.

      It is well-established that by posting adequate security in the form of a

supersedeas bond under Federal Rule of Civil Procedure 62(d), First Advantage is

entitled to a stay on the enforcement of the money judgment as a matter of right.

See Poplar Grove Planting and Refining Co. v. Bache Halsey Stuart, Inc., 600 F.2d

1189, 1191 (5th Cir. 1979); Federal Prescription Service, Inc. v. American

Pharmaceutical Ass’n, 636 F.2d 755, 758 (D.C. Cir. 1980) (“an appellant in all cases

may obtain a stay as a matter of right by filing a supersedeas bond . . . .”). The

posting of a bond “protects the prevailing plaintiff from the risk of a later

uncollectable judgment and compensates him for delay in the entry of final

judgment.” Apple Glen Investors, L.P. v. Express Scripts, Inc., Case No. 8:14–cv–

1527–T–33, 2016 WL 6433001, at *1 (M.D. Fla. Oct. 31, 2016); U.S. v.

Dornbrock, Case No. 06–61669–CIV, 2008 WL 2894829, at *1 (S.D. Fla. May 29,

2008) (citing Federal Prescription Service, Inc. 636 F.2d at 757–580)).

       Accordingly, to provide Williams with security adequate to effect a stay on

the enforcement of judgment in this Court, First Advantage requests that the Court

approve a proposed bond amount of $4,100,000.00 and, upon approval and posting

of the supersedeas bond, issue a stay on the enforcement of the judgment. This

bond amount is intended to cover the judgment in this action, interest, any later-



                                           2
     Case 1:13-cv-00222-MW-GRJ Document 223 Filed 03/31/17 Page 3 of 9



assessed fees and costs, and other costs associated with the delay in payment of

any money judgment. Upon approval of the proposed bond amount, First

Advantage will promptly post it with the Clerk. Counsel for Williams has

stipulated to this proposed bond amount and does not oppose this motion. A copy

of the bond setting forth the applicable terms is attached as Exhibit A.

      In sum, First Advantage respectfully requests that this Court enter an Order

approving the above-referenced bond terms. First Advantage further asks that upon

its posting of the bond, the Court stay any and all proceedings pertaining to the

execution and/or enforcement of judgment in this action, with the stay remaining in

force during: (1) all proceedings on appeal to the United States Court of Appeals

for the Eleventh Circuit; (2) proceedings related to any Petition for Writ of

Certiorari to the United States Supreme Court; (3) any subsequent proceedings on

the merits in the Supreme Court; and (4) any subsequent proceedings before this

Court, either due to remand or relating to the determination of any fees or costs

assessed by this Court.




                                          3
    Case 1:13-cv-00222-MW-GRJ Document 223 Filed 03/31/17 Page 4 of 9




                           Respectfully submitted,

                           FIRST ADVANTAGE BACKGROUND
                           SERVICES CORP.

                                By /s/ Joseph Turner
                                Joseph Turner
                                Illinois Bar No. 6195834
                                jturner@seyfarth.com
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                                Facsimile: (312) 460-7000

                                Lead Counsel for First Advantage
                                Background Services Corp.

Date: March 31, 2017




                                   4
     Case 1:13-cv-00222-MW-GRJ Document 223 Filed 03/31/17 Page 5 of 9



                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

RICHARD ALEXANDER WILLIAMS,

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FIRST ADVANTAGE LNS SCREENING
SOLUTIONS, INC. f/k/a LEXISNEXIS
SCREENING SOLUTIONS, INC.,

                   Defendant.
                                                       /

           DEFENDANT’S LOCAL RULE 7.1(B) CERTIFICATE

       I certify that the parties conferred both via e-mail and telephonically, as

required by Local Rule 7.1. As set forth in the memorandum of law, all parties

agree on the stay motion and on the terms of the bond.
    Case 1:13-cv-00222-MW-GRJ Document 223 Filed 03/31/17 Page 6 of 9



                           Respectfully submitted,

                           FIRST ADVANTAGE BACKGROUND
                           SERVICES CORP.

                           By /s/ Joseph Turner
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                           Lead Counsel for First Advantage
                           Background Services Corp.

Date: March 31, 2017
     Case 1:13-cv-00222-MW-GRJ Document 223 Filed 03/31/17 Page 7 of 9




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

RICHARD ALEXANDER WILLIAMS,

                    Plaintiff,
v.                                           Case No. 1:13-cv-00222-MW-GRJ

FIRST ADVANTAGE LNS SCREENING
SOLUTIONS, INC. f/k/a LEXISNEXIS
SCREENING SOLUTIONS, INC.,

                    Defendant.
                                                     /

            DEFENDANT’S LOCAL RULE 7.1(F) CERTIFICATE

      I certify that Defendant’s Memorandum of Law in Support of Its Unopposed

Motion to Stay Enforcement of Judgment and Notice of Filing Supersedeas Bond,

contains 580 words when including all sections of the Memorandum of Law,

including headings, footnotes, and quotations, and excluding the caption, signature

block, and certificates.
    Case 1:13-cv-00222-MW-GRJ Document 223 Filed 03/31/17 Page 8 of 9



                           Respectfully submitted,

                           FIRST ADVANTAGE BACKGROUND
                           SERVICES CORP.

                           By /s/ Joseph Turner
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                           Lead Counsel for First Advantage
                           Background Services Corp.
Date: March 31, 2017
     Case 1:13-cv-00222-MW-GRJ Document 223 Filed 03/31/17 Page 9 of 9



                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

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                   Plaintiff,
v.                                           Case No. 1:13-cv-00222-MW-GRJ

FIRST ADVANTAGE LNS SCREENING
SOLUTIONS, INC. f/k/a LEXISNEXIS
SCREENING SOLUTIONS, INC.,

                   Defendant.
                                                      /

                          CERTIFICATE OF SERVICE

      I certify that on March 31, 2017, I electronically filed DEFENDANT’S

MEMORANDUM OF LAW IN SUPPORT OF ITS UNOPPOSED MOTION

TO STAY ENFORCEMENT OF JUDGMENT AND NOTICE OF FILING

SUPERSEDEAS BOND with the Clerk of Court using the CM/ECF system,

which will automatically send e-mail notification of such filing to the following

attorneys of record:

 Barry S. Balmuth                            Michael Massey
 Barry S. Balmuth, B.C.S.                    Massey & Duffy, PLLC
 2505 Burns Road                             855 E. University Avenue
 Palm Beach Gardens, Florida 33410           Gainesville, Florida 32601


                                          /s/ Joseph Turner
                                          Counsel for Defendant
